                    Case 4:23-cv-04513-KAW Document 5 Filed 09/01/23 Page 1 of 1


AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Northern District of California [:]

                        Brian Lindhurst                                     )
                                                                            )
                                                                            )
                                                                            )
                            Plaintiff(s)                                    )
                                V.                                          )               Civil Action No. 4:23-cv-04513-KAW
                                                                            )
                    City of Berkeley, et al.
                                                                            )
                                                                            )
                                                                            )
                                                                            )
                           De.fendant(s)                                    )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendants, name and address) City . of Berkeley
                                   Dav,d M arble, BerkeIey p o1-ice Depa rtment Offi1cer




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) -or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                       John L. Burris
                                       Burris, Nisenbaum, Curry & Lacy
                                       7677 Oakport Street, Suite 1120
                                       Oakland, CA 94621

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date: September 1 2023
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